UNITED STATES DIS’I`RICT COUR'I`
WESTERN DlSTRlCT OF NEW YOR_K

 

DONALD CURTIS,

Plaintiff, _
_ NOTICE OF M()TION FOR

EXP'EDITEI) HEA`RING
»~against- '

BRIAN F`ISCH`ER, Commissioner, `New York State
Dep'mmeni efcm~reeii@nai Sa-vi<;es, JAMES ir. `
CONWAY, Sup_erintendent, Attioa Correetional
Faoility, JOHN DOE, Correotion__Sergeant, K.
HAEFNER, 'r\_ 'BACKUS, M. ST`ACK, P;
CORCORAN: JANE DO.E, Corree’ci`on Oft`ioers,
Lieutenant POLAK, Lieutenant DIXON, A_c;ting'
Captain BORAWSKI, Hearing, Ofiicers, NORMAN
R. BEZIO, Direetor of Special Housing/Inmate
Disc;iplinary Programs, THOMAS EAGAN, former
Direotor, inmate Grievance Program, ANTI"I()NY J_ .
ANNUCCI, Executive Deputy Comniissioner, and `
GEORGE STRUEBEL, wmata orievanc,e ngram
Supervisor,

De.i`endante.

 

Plaint.iff, Donald Curtis, by and through iiis attorney, David_H. Frech and Prisoners’
_Legal Serviees of New Yorl<;J pursuant to local rule 7. ], respectfully moves this Court foran
expedited hearing for a temporary restraining order and preliminary injunction pursuant to Rule
65 of the Federal 'Rules of Civil Proeedure, preventing Defendants from punishing Plaint_iff for
refusing to either'eut his_ di'eadlocks or cliangeliis religious affiliation to Rastafarian and
enjoining Defendants_frorn preventing Piaintiff from practicing Judaism- and attending Jewish

servicesl

l, This is a civil rights action brought pursuant to 42 U.S.C. §1983 to redress violations of
the Religious Land Use and lnstitutionalized Persons A_ct (“RLUIPA”), 42 U_SiC_ § ROOOcc, and
the First and Foiu'teenth Arnendrnents of the United States Cons-titution. This action challenges
the Dei`endant’s departmental directives, rules, policies, and practices Which prevent _Plaintift`, a
J`ewish inmate who has taken the Nazarite vow t`rorn attending Jewish services and require that
Plaintifi` either cut his dreadlocl<s inn violation of his religidiis beliefs or, if he Wants to continue to
wear dreadlocks, change his religious affiliation to Rastat`arian.

`2_ A.n expedited hearing is required because as a 1'esult`ofPlaintii"t"s refusal to cut his
dreadlocl<s he is presently confined io;l§eeplock, a form of disciplinary confinement, and he is not
permitted to attend Jewish religious services l

3. In this action Piaintitf seeks injunctive and declaratory relief, as well as compensatory
and punitive damages l

l 4. Tliis motion is based upon the annexed Affirrnation of David H. Frech, Esq_

n WH_EREFORE, Plaiiitift requests that this Court grant an expedited hearing for a
temporary restraining order and a preliminary injunction (l) preventing Dei`endantsfrom
punishing Plainti_t`i`t`or refusing to cut his_dreadlocks or refusing to change his religious affiliation
to Rastat`a:rian, (2) enjoining Dei"endants' from preventing Plaintit`f from practicing -Judaisrn and

attending ]eWish services

DATED; . December LQ_, 2003
E»ui’i`alo7 New Yorl<

BY; n s/ David H. Frech
DAVID H. FRECH, ESq._,

KAREN MURTAGH-MONKS, Executive Director
PR_[SONERS’ LEGAL SERVICES OF NEW Y(.`)RK
Attorneys for Plaintift`

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'..aJ

